                IN THE UNITED STATES DISTRICT COURT FOR THE
                        MIDDLE DISTRICT OF TENNESSEE
                           NORTHEASTERN DIVISION

UNITED STATES OF AMERICA                            )
                                                    )
                                                    )
v.                                                  )      Criminal No. 2:11-00002
                                                    )      Judge Trauger
[11 JAMES CRAWFORD                                  )

                                          ORDER

       It is hereby ORDERED that the sentencing scheduled for December 14, 2012 is RESET

for Thursday, February 14, 2013, at 3:00 p.m.

       It is so ORDERED.

       ENTER this 4th day of December 2012.



                                                    ________________________________
                                                          ALETA A. TRAUGER
                                                            U.S. District Judge




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